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                                 UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF LOUISIANA



ATLANTIC SPECIALTY INSURANCE CO.                                       CASE NO. 17-cv-9318
AND EXCESS UNDERWRITERS
SUBSCRIBING SEVERALLY TO POLICY
NO. TMU-407387                                                         JUDGE: ELDON E. FALLON

            Plaintiff,                                                 MAG.: JANIS VAN MEERVELD

v.

PHILLIPS 66 COMPANY,

            Defendant.


    PHILLIPS 66 COMPANY’S MEMORANDUM IN OPPOSITION TO ATLANTIC
        SPECIALTY INSURANCE COMPANY’S MOTION FOR SUMMARY
                       JUDGMENT (REC. DOC. 30)

         Phillips 66 Company (“Phillips 66”) submits this memorandum in opposition to

Atlantic Specialty Insurance Company’s (“Atlantic”) “Motion for Summary Judgment on

Insurance Coverage” (Rec. Doc. 30) (“Motion”). The Motion should be denied because:

         (1) Atlantic has failed to establish that there is no genuine issue of material fact;

         (2) Atlantic has failed to establish that based on the undisputed facts, Atlantic is

             entitled to judgment as a matter of law;1

         (3) Atlantic has failed to “come forward with evidence which would entitle it to a

             directed verdict if the evidence went uncontroverted at trial;”2 and

1
  Summary judgment is proper “if the pleadings, depositions, answers to interrogatories, and admissions on file,
together with the affidavits, if any, show that there is no genuine issue as to any material fact and that the moving
party is entitled to a judgment as a matter of law.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986) (citing Fed. R.
Civ. P. 56(c)).


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           (4) Phillips 66 has submitted undisputed facts which show that La. R.S. 9:2780.1

                does not apply3 and that Atlantic owes Phillips 66 a duty to defend.4

           With respect to Atlantic’s request for a summary judgment that it owes no duty to

defend Phillips 66, Atlantic has not and cannot prove that the Calloway and Jambon

petitions did not disclose a possibility of liability under its Policy.5 Thus, summary

judgment in Phillips 66’s favor is warranted on that issue.6

           With respect to Atlantic’s request for a summary judgment that it owes no duty to

indemnify Phillips 66, that Motion should be denied because Atlantic has failed to

establish that the VP01 Pipeline is “a building, structure, highway, road, bridge, water

line, sewer line, oil line, gas line, appurtenance, or other improvement to real property;” 7

2
  If the dispositive issue is one on which the moving party will bear the burden of proof at trial, the moving party
“must come forward with evidence which would entitle it to a directed verdict if the evidence went uncontroverted
at trial.” Int'l Shortstop, Inc. v. Rally’s, Inc., 939 F. 2d 1257, 1264-65 (5th Cir. 1991). The nonmoving party can then
defeat the motion by either countering with evidence sufficient to demonstrate the existence of a genuine dispute of
material fact, or “showing that the moving party’s evidence is so sheer that it may not persuade the reasonable fact-
finder to return a verdict in favor of the moving party.” Id. at 1265.
Atlantic bears the burden of proof at trial of showing that the MSA is invalid. See, e.g., Marcel v. Placid Oil Co., 11
F.3d 563, 570 (5th Cir. 1994) (“ as the party requesting summary judgment, had the burden of demonstrating that the
insurance agreement was void under the LOIA and that there was no fact issue regarding any economic burden on”).
Also, Atlantic’s contention that the MSA is invalid is an affirmative defense and, “[w]hen summary judgment is
sought on an affirmative defense, as here, the movant ‘must establish beyond peradventure all of the essential
elements of the claim or defense to warrant judgment in his favor.’” Dewan v. M-I, L.L.C., 858 F.3d 331, 334 (5th
Cir. 2017) (emphasis in original).
3
 See Phillips 66’s Material Fact Nos. 1 – 6 in “Phillips 66 Company’s Response to Atlantic Specialty Insurance
Company’s Statement of Uncontested Facts,” submitted in conjunction with this opposition.
4
 See Phillips 66’s Motion for Partial Summary Judgment on Atlantic’s Duty to Defend (Rec. Doc. 21), and the
materials filed therewith.
5
 Arceneaux v. Amstar Corp., 2015-0588 (La. 9/7/16), 200 So.3d 277, 282 (“the duty to defend arises whenever the
pleadings against the insured disclose even a possibility of liability under the policy.”).
6
 See n. 4, supra. To the extent Atlantic relies on facts or evidence beyond the Policy, the Calloway and Jambon
petitions, and the MSA, Phillips 66 objects to consideration of such facts and evidence as they are irrelevant to, and
cannot be considered with, Atlantic’s Motion on its duty to defend. See American Home Assurance Company v.
Czarniecki, 255 La. 251, 230 So.2d 253 (1969); Lexington Ins. Co. v. St. Bernard Par. Gov’t, 548 Fed. Appx. 176,
180 (5th Cir. 2013); Vaughn v. Franklin, 785 So.2d 79, 85 (La. App. 1st Cir. 2001).
7
    La. R.S. 9:2780.1(A)(2)(a).


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and is not a gas gathering line “used in association with the transportation of production

from oil and gas wells from the point that oil and gas becomes co-mingled for

transportation to oil storage facilities or gas transmission lines.”8 Both of those crucial

elements must be proven before Atlantic prevails on its claim that its policy obligations

are void under La. R.S. 9:2780.1, yet Atlantic has introduced no relevant factual

information at all about the VP01 Pipeline to support its Motion. Accordingly, a

summary judgment in Atlantic’s favor that La. R.S. 9:2780.1 voids its duty to indemnify

Phillips 66 is clearly inappropriate.

           Because Atlantic failed to meet its initial burden of establishing that La. R.S.

9:2780.1 applies, there is no need for the Court to consider whether the Marcel9

exception to La. R.S. 9:2780.1 applies, and Atlantic’s motion should be denied.

           In further opposition to Atlantic’s Motion, Phillips 66 incorporates herein its

Motion for Partial Summary Judgment on the Applicability of La. R.S. 9:2780.1 (Rec.

Doc. 20), its Motion for Partial Summary Judgment on Atlantic’s Duty to Defend (Rec.

Doc. 21), and all materials filed by Phillips 66 in conjunction with both of those motions.

                                                        Respectfully Submitted:

                                                          /s/ Michael deBarros
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8
    La. R.S. 9:2780.1(A)(2)(b)(ii).
9
    Marcel v. Placid Oil Co., 11 F.3d 563, 565 (5th Cir.1994).

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                                          Counsel for Phillips 66 Company



                             CERTIFICATE OF SERVICE

        I hereby certify that a copy of the above and foregoing was filed electronically

with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all

counsel of record by operation of the Court’s electronic filing system.


        Baton Rouge, Louisiana, this 12th day of June, 2018.


                                    /s/ Michael deBarros
                                   Michael J. deBarros




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